Case 2:08-cr-00080-SRC       Document 89         Filed 02/10/12    Page 1 of 1 PageID: 308




                          UNITED STATES DISTRICT COURT
                               DISTRICT’ OF NEW JERSEY

UNITED STATES OF AMERICA                     :     Hon. Stanley R. Chesler,U.S.D.J.

              v.                         :         Crim. No, 08-0080 (SRC)

JUAN POLANCO                             :         ORDER

             This matter having been opened to the Court by the Unit
                                                                            ed States (Paul
Fishman, United States Attorney, by David Foster, Assi
                                                           stant U.S. Attorney, appearing),
for an Order to modify the previously set conditions of
                                                          bail for defendant Juan Polanco,
(Curtis LaForge esq., appearing), and for good and suffi
                                                         cient    cause shown,

             WHEREFORE, it is on this/_YZav of February, 2012
                                                                       :

             ORDERED the defendant Juan Polanco’s bail condition
                                                                           s shall be modified
             as follows


             1. Defendant shall be removed from elect
                                                        ronic monitoring.
            2. Defendant shall not travel outside of the
                                                           state of New Jersey or New
               York without approval from probation.
            3. Defendant shall submit to drug testing as required by probation.

            4. All other originally imposed conditions remain in effect




                                       STANLEY R. CHES.LER
                                       UNITED STATES DISTRICT COURT JUDGE
